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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        ORDER REGARDING OBJECTIONS
                                        This Order Relates To:                              TO EVIDENCE IN PENDING
                                  10                                                        MOTIONS
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13            The parties jointly filed updated lists of pending motions. ECF Nos. 4547, 4564. Within

                                  14   those lists the parties noted related filings, such as supplemental briefs, supplemental authority,

                                  15   joinders, and oppositions to joinders. The parties did not note, however, any objections to

                                  16   evidence submitted in support of the parties’ briefs. See, e.g., ECF No. 3449 (objecting to

                                  17   proposed evidence submitted in support of an opposition to a motion for summary judgment).

                                  18   Compare ECF Nos. 4547 and 4564 (omitting objections to evidence in the most recent list of

                                  19   pending motions) with 3920-1 (including objections to evidence in a July 1, 2015 list of pending

                                  20   motions). With so many pending motions (among the more than 4500 filings on the docket), the

                                  21   Court can effectively rule on the pending motions and related filings only if the parties provide up-

                                  22   to-date lists with comprehensive information.

                                  23            Accordingly, the parties are ORDERED to provide the Court with a jointly-filed list of

                                  24   previously filed objections to evidence, whether filed separately or within certain briefs, regarding

                                  25   the pending (but not moot) motions listed in the most recent lists found at ECF Nos. 4547 and

                                  26   4564. Objections not contained in this list will be deemed waived. If the lists provided at ECF

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                                   1   Nos. 4547 and 4564 are missing any other information regarding related filings important to the

                                   2   Court’s ruling on the pending motions, the parties should provide that information as well. The

                                   3   parties should jointly file the list no later than April 26, 2016.

                                   4           IT IS SO ORDERED.

                                   5   Dated: April 21, 2016
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                                                                                                        JON S. TIGAR
                                   7                                                              United States District Judge

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Northern District of California
 United States District Court




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